Case 2:04-Cr-20029-BBD Document 24 Filed 08/24/05 Page 1 of 2 Page|D 28

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UNITED sTATEs oF AMERICA, :UW% %§ r`T’YQCTCOURI
Plaimifr,
v. Case No. 04-20029-D
DEWAYNE wARD,
Defendant.

 

ORDER EXCUSING ATTORNEY’S PRESENCE

 

This cause came on to be heard upon motion of counsel to excuse her presence on August
25 , 2005. For good cause, the Court finds the motion Well taken and grants counsel’s request to
excuse her presence

IT IS ORDERED THAT counsel presence is herein excused and the Court accepts the

announcement as stated in the related motion.

 

 
  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CR-20029 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

